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                       IN THE UNITED STATES DISTRICT COURT         FilED IN CHAMBERS
                                                                       (' ~o"C. Atlanta
                    FOR THE NORTHERN DISTRICT OF GEORGIA
ORIGINAL                        ATLANTA DIVISION                            JAN 1 7 2012
                                                                    JAi'v,~.;;,
                                                                          ,\I, HATTEN.£lerk
                                                                    By: ~~?,r: ~ttL
   UNITED STATES OF AMERICA                                                   /'   Deputy Clerk
                                                    CRIMINAL INDICTMENT
               v.
                                                    NO.
   PAUL L. BLACK                                            1   12-CR-016
        a/k/a Marcus Lively
   EDNECDIA SUTINA JOHNSON
        a/k/a Tina Johnson


  THE GRAND JURY CHARGES THAT:

                                    COUNT ONE
                         (Access Device Fraud - Devices)

        On or about December 21,       2011,   in the Northern District of

  Georgia, defendants PAUL L. BLACK a/k/a Marcus Lively and EDNECDIA

  SUTINA JOHNSON a/k/a Tina Johnson, aided and abetted by each other,

   knowingly and with intent to defraud possessed at least fifteen

  devices   which      are   counterfeit   access     devices,    said     offense

  affecting interstate and foreign commerce,              in violation of Title

  18, United States Code, Sections 2, 1029 (a) (3), 1029 (c) (1) (A) (i) ,

  and 1029 (c) (2) .


                                COUNT TWO
             (Access Device Fraud - Device-Making Equipment)

        On or about December 21,       2011,   in the Northern District of

  Georgia, defendants PAUL L. BLACK a/k/a Marcus Lively and EDNECDIA

  SUTINA JOHNSON a/k/a Tina Johnson, aided and abetted by each other,

  knowingly and with intent to defraud had control and custody of and
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possessed device-making equipment, that is, equipment, mechanisms,

and impressions designed and primarily used for making an access

device and a       counterfeit access device,              said offense affecting

interstate and foreign commerce, in violation of Title 18, United

States     Code,    Sections      2,    1029 (a) (4),      1029 (c) (1) (A) (ii),   and

1029 (c) (2) .


                            COUNT THREE
      (Possessing Five Or More False Identification Documents)

      On or about December 21,            2011,      in the Northern District of

Georgia, defendants PAUL L. BLACK a/k/a Marcus Lively and EDNECDIA

SUTINA JOHNSON a/k/a Tina Johnson, aided and abetted by each other,

did knowingly possess with intent to use unlawfully and transfer

unlawfully,      in and affecting interstate commerce,                   five or more

false identification documents, that is, false California, Texas,

Illinois,     and Oregon driver's licenses bearing a                     photograph of

defendant JOHNSON and in the name of other individuals with various

purported driver's license numbers, and the offense involved the

production of a false identification document that is and appears

to be a driver's license,              all in violation of Title 18, United

States     Code,     Sections      2    and       1028(a) (3),   1028(b) (1) (A) (ii),

1 0 2 8 (b) (2), 10 2 8 (b) (5), 1 02 8 (c) (3) (A), and 1 0 2 8 (g) .




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                                COUNT FOUR
                  (Possessing Document-Making Implement)

        On or about December 21,        2011,   in the Northern District of

Georgia, defendants PAUL L. BLACK a/k/a Marcus Lively and EDNECDIA

SUTINA JOHNSON a/k/a Tina Johnson, aided and abetted by each other,

did knowingly possess         a     document-making    implement,   including

printers and embossers, with the intent that such document-making

implement would be used in the production of a false identification

document, and possession of the document-making implement was in or

affecting interstate commerce, all in violation of Title 18, United

States Code, Sections 2, 1028 (a) (5), 1028 (b) (1) (C), 1028 (c) (3) (A) ,

and 1028(g).



                             FORFEITURE PROVISION

        This Indictment charges the defendants PAUL L.              BLACK a/k/a

Marcus Lively and EDNECDIA SUTINA JOHNSON a/k/a Tina Johnson with

violation(s)     of Title 18,       United States Code,    Sections 1028 and

1029.    Pursuant to Title 18, United States Code, Section 1028(b) (5)

and     982   (a) (2) (B),   upon    conviction   of    said   violation,   the

defendant(s)     shall forfeit to the United States            (1) any personal

property used or intended to be used to commit such violation, and




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(2) any property constituting, or derived from, proceeds the person

obtained directly or indirectly, as the result of such violation,

including, but not limited to:

     Any and all personal property seized on December 21,           2011

during the search of the property located at           9154 Betony Wood

Trail, Jonesboro, Georgia.

     If any of the property described above as being subject to

forfeiture, as a result of any act or omission of the defendant(s)

     a.   cannot be located upon the exercise of due diligencej

     b.   has been transferred or sold to,        or deposited with, a

third personj

     c.   has been placed beyond the jurisdiction of the Courtj

     d.   has been substantially diminished in valuei or

     e.   has been commingled with other property which cannot be

subdivided without difficultYi

it is the intent of the United States, pursuant to Title 21, United

States Code,    Section 853 (p)   and Title 18,    United States Code,




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Section 982 (b) (I),   incorporating Title 21,     United States Code,

Section 853{p),   to seek forfeiture of any other property of said

defendant{s) up to the value of the properties identified above.



                                    ____~~~~---------------- BILL




SALLY QUILLIAN YATES
UNITED STATES ATTORNEY

 jL-..~
NICHOLAS A. OLDHAM
ASSIST    UNITED STATES ATTORNEY
G              . 592701



 OBERT C.I. McBURNEY
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